      Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 1 of 37




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

 STATE OF FLORIDA,

           Plaintiff,

 v.                                                   Case No. 3:21cv1066-TKW-EMT

 UNITED STATES OF AMERICA,
 et al.,

      Defendants.
_________________________________/

                        ORDER DENYING MOTION TO DISMISS

       This case is before the Court based on Defendants’ motion to dismiss (Doc.

23). No hearing is necessary to rule on the motion, and upon due consideration of

the motion and the related filings,1 the Court finds for the reasons that follow that

the motion is due to be denied.

                                          Overview

       This case is about the immigration “crisis” at the southern border. The

plaintiff is the State of Florida and the defendants are the United States of America

and various federal immigration agencies and officials.




       1
           Defendants’ supporting memorandum (Doc. 23-1); Plaintiff’s response in opposition
(Doc. 31), Defendants’ reply (Doc. 40), the Immigration Reform Law Institute’s amicus brief
(Doc. 36-1), and Defendants’ notice of supplemental authority (Doc. 42) and Plaintiff’s response
to that notice (Doc. 43).
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 2 of 37




       Florida alleges in the amended complaint (Doc. 16) that Defendants have

adopted and are implementing policies that contravene explicit mandates and

restrictions in the immigration statutes and that the policies have effectively turned

the southern border into little more than a speedbump for the hundreds of thousands

of aliens2 who have flooded across the border into the country since January 2021

and the thousands more who are arriving at the border daily. Florida challenges the

policies under the Administrative Procedure Act (APA) and the Constitution and

seeks declaratory and injunctive relief.

       Defendants dispute the existence of one of the challenged policies and argue

that the amended complaint should be dismissed because Florida lacks legal standing

to challenge the policies, because the policies are beyond judicial review, and

because the amended complaint fails to assert any plausible claims upon which relief

can be granted. Each of these arguments is addressed (and rejected) in detail below.

       Suffice it to say the Court is wholly unpersuaded by Defendants’ position that

they have unfettered discretion to determine how (or if) to comply with the

immigration statutes and that there is nothing that Florida or this Court can do about

their policies even if they contravene the immigration statutes. This position is as


       2
           The Court is aware that some consider the term “alien” to be offensive and
“dehumanizing” and that Defendants prefer the term “noncitizen.” However, the Court will use
the term “alien” in this Order because that is the term used throughout the immigration statutes
and the term “noncitizen” is underinclusive because the statutory definition of “alien” includes
both noncitizens and persons who are “not a … national of the United States.” 8 U.S.C.
§1101(a)(3) (emphasis added).

                                               2
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 3 of 37




remarkable as it is wrong because it is well established that no one, not even the

President, is above the law and the Court unquestionably has the authority to say

what the law is and to invalidate action of the executive branch that contravenes the

law and/or the Constitution. Thus, if Florida’s allegations that Defendants are

essentially flaunting the immigration laws are proven to be true, the Court most

certainly can (and will) do something about it.

                         Relevant Statutory Framework

      “Policies pertaining to the entry of aliens and their right to remain here are …

entrusted exclusively to Congress ….” Galvan v. Press, 347 U.S. 522, 531 (1954).

Congress has enacted a comprehensive statutory scheme for the admission and

exclusion of aliens—the Immigration and Nationality Act (INA), which is codified

as amended in 8 U.S.C. §1101, et. seq. Executive branch immigration officials are

granted “broad discretion” under the INA, see Arizona v. United States, 567 U.S.

387, 395-96 (2012); Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471,

484 (1995), but their discretion is not boundless.

      Under the INA, an alien who arrives in the United States is considered an

applicant for admission, irrespective of whether the alien arrives at a designated

point of entry or illegally crosses the border at another location. See 8 U.S.C.

§1225(a)(1).   If immigration officials determine that the alien is inadmissible




                                          3
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 4 of 37




because of certain misrepresentations3 or lack of proper documentation,4 the alien is

to be removed “without further hearing or review” unless the alien indicates an

intention to apply for asylum or a fear of persecution. See 8 U.S.C. §1225(b)(1)(A).

For all other aliens, unless immigration officials determine that the alien is clearly

and beyond a doubt entitled to be admitted, “the alien shall be detained for a

[removal] proceeding.” 8 U.S.C. §1225(b)(2)(A) (emphasis added). Alternatively,

for aliens arriving by land from a contiguous territory (e.g., Mexico), “the Attorney

General may return the alien to that territory pending a [removal] proceeding” in lieu

of detention. 8 U.S.C. §1225(b)(2)(C).

      “Read most naturally, §§1225(b)(1) and (b)(2) … mandate detention of

applicants for admission until certain proceedings have concluded.            Section

1225(b)(1) aliens are detained ‘for further consideration of the application for

asylum,’ and section 1225(b)(2) aliens are in turn detained for ‘removal

proceedings.’” Jennings v. Rodriguez, 138 S. Ct. 830, 842 (2018) (cleaned up).

These statutes “mandate detention of aliens throughout the completion of applicable

proceedings and not just until the moment those proceedings begin.” Id. at 845.

      Removal proceedings are initiated by a “notice to appear,” which gives the

alien notice of (among other things) the charges against him or her, the place at


      3
          8 U.S.C. §1182(a)(6)(C).
      4
          8 U.S.C. §1182(a)(7).

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     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 5 of 37




which the removal proceeding will be held, and the consequences of failing to appear

at the proceeding. See 8 U.S.C. §1229(a). Thus, until a notice to appear has been

issued, a removal case has not been initiated against the alien.                 The removal

proceeding is a trial-like proceeding conducted by an administrative law judge, and

in cases where the alien is an applicant for admission, the alien has the burden to

prove that he or she is “clearly and beyond doubt entitled to be admitted and is not

inadmissible under section 1182.” See 8 U.S.C. §1229a(c)(2)(A). If an alien fails

to appear at the removal proceeding after having been received a notice to appear,

the alien “shall be ordered removed in absentia.” 8 U.S.C. §1229a(b)(5)(A).

       The Attorney General has the authority (with certain exceptions not applicable

here) to “parole … temporarily” any alien applying for admission to the United

States. See 8 U.S.C. §1182(d)(5)(A). This parole may only be granted “on a case-

by-case basis for urgent humanitarian reasons or significant public benefit,”5 and the


       5
         This restriction was added in 1996 to “limit the scope of the parole power and prevent
the executive branch from using it as a programmatic policy tool.” Texas v. Biden, 20 F.4th 928,
947 (5th Cir. 2021); see also Doc. 36-1, at 8 n.4 (discussing the legislative history of the 1996
amendments to §1182). The parole authority is further limited by regulations adopted by the
Department of Homeland Security (DHS). For example, parole for aliens subject to expedited
removal under §1225(b)(1) or in detention pending an asylum is only allowed when “required to
meet a medical emergency or is necessary for a legitimate law enforcement objective.” 8 C.F.R.
§235(b)(2)(iii), (b)(4)(ii). However, DHS recently published amendments to that regulation,
which, effective May 31, 2022, will broaden the parole authority for aliens subject to expedited
removal or in detention pending an asylum determination by cross-referencing the regulation that
governs parole of aliens detained under §1225(b)(2). See 87 Fed. Reg. 18078, 18220 (Mar. 29,
2022). That regulation identifies classes of aliens for whom parole would “generally be justified
only on a case-by-case basis for ‘urgent humanitarian reasons’ or ‘significant public benefit,’”
including aliens who have serious medical conditions, are pregnant, will be witnesses in judicial
proceedings, or “whose detention is not in the public interest.” 8 C.F.R. §212.5(b).

                                               5
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 6 of 37




alien shall be returned to the custody from which he or she was paroled when the

Attorney General determines that “the purposes of such parole shall … have been

served.” Id. (emphasis added). Thereafter, “[the alien’s] case shall continue to be

dealt with in the same manner as that of any other applicant for admission to the

United States.” Id.

       The policies challenged in this case primarily implicate the detention

requirement in §1225(b)(2)(A) and the parole authority in §1182(d)(5)(A). The

policies also implicate §1225(b)(2)(C) insofar as Defendants’ failure to utilize the

alternative to detention provided by that statute contributed to the problem that the

challenged polices seek to alleviate, but the legality of Defendants’ decision to

terminate the so-called “remain in Mexico policy”6 under that statute is not at issue

in this case and is currently under review by the Supreme Court in Biden v. Texas,

No. 21-954. The challenged polices may also implicate §1225(b)(1)(B)(ii) and

(b)(1)(B)(iii)(IV) to the extent that the policies are being used to parole aliens who

are seeking asylum based on a credible fear of persecution, and §1225(b)(1) more

generally if they are being used to parole inadmissible aliens who are not seeking

asylum and who should be summarily removed.




       6
        The formal name for the policy is Migrant Protection Protocols (MPP). See 84 Fed. Reg.
6811 (Feb. 28, 2019).

                                              6
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 7 of 37




                                 Procedural Background

         Florida initiated this case in September 2021 by filing a complaint in this

Court.       The complaint challenged Defendants’ notice to report (NTR) policy

pursuant to which aliens arriving at the southern border were simply being released

into the county with orders to report to the Immigration and Customs Enforcement

(ICE) agency for issuance of a notice to appear. The NTR policy—which Florida

described as “immigration enforcement by the honor system”—was used because it

was a “significantly faster mechanism for processing noncitizens” as compared to

the “much more time consuming” process of issuing a notice to appear. The NTR

policy was replaced in November 2021 with a new policy—Parole Plus Alternative

to Detention (parole + ATD).

         The parole + ATD policy is set forth in a memorandum from the Chief of the

United States Border Patrol (USBP) to all chief and deputy chief border patrol

agents. The memorandum explained that the parole + ATD policy is “an alternate

processing pathway” that border patrol agents may use for family units rather than

issuing a notice to appear in order to “deal with situations in which capacity

constraints or conditions in custody warrant the more expeditious processing.”7



         7
           The memorandum specifically authorizes the use of parole + ATD pathway for family
units in the Del Rio and Rio Grande Sectors, but also states that it USBP officials can authorize
the use of parole + ATD in other sectors in which “capacity constraints or conditions in custody
show that there is a urgent humanitarian need to release [family units] in a more expeditious
fashion” because of the health risks of COVID-19.

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     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 8 of 37




Aliens released into the country under the parole + ATD policy are required to report

to ICE within 15 days to be processed for a notice to appear, but the policy does not

explain how that requirement will be enforced or what happens if the alien fails to

report to ICE.

       The memorandum asserts that “[u]se of Parole + ATD is consistent with 8

U.S.C. §1182(d)(5), which provides that certain noncitizens may be paroled

temporarily ‘only on a case-by-case basis for urgent humanitarian reasons or

significant public benefit’—namely, the urgent humanitarian need to protect the

workforce, migrants, and American public against the spread of COVID-19 that may

be exacerbated by overcrowding in [Customs and Border Protection] facilities.” The

memorandum states that “when COVID-19 conditions eventually improve, it is

expected that there will no longer be a need for this alternative pathway,” but the

parole + ATD policy is apparently still in use notwithstanding Defendants’

contemporaneous efforts to terminate the “Title 42” restrictions on immigration.8


       8
          Under a series of orders entered between March 2020 and August 2021 pursuant to 42
U.S.C. §§265, 268 and 42 C.F.R. §71.40, the Center for Disease Control (CDC) restricted
immigration based on public health concerns related to COVID-19. See, e.g., 85 Fed. Reg. 16559
(Mar. 24, 2020); 86 Fed. Reg. 42828 (Aug. 5, 2021). Without these orders, even more aliens likely
would have been released into the country (under the parole + ATD policy or otherwise) because,
according to the amicus brief filed by the Immigration Reform Law Institute, more than half of the
1.2 million aliens encountered at the southern border between August 2021 and February 2022,
were “expelled” under Title 42 whereas more than two-thirds of the remaining aliens (over
445,000) were released into the country. Despite the beneficial aspects of the Title 42 orders, CDC
determined in consultation with DHS that, effective May 23, 2022, “suspending the right to
introduce migrants into the United States is no longer necessary [because] current public health
conditions and an increased availability of tools to fight COVID-19 (such as highly effective


                                                8
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 9 of 37




       In December 2021, Defendants filed a motion to dismiss the complaint

arguing (among other things) that Florida’s challenge to the NTR policy is moot

because it was replaced by the parole + ATD policy. The Court denied the motion

to dismiss as moot after Florida filed an amended complaint. See Doc. 17.

       The amended complaint, filed in February 2022,9 challenges the parole + ATD

policy as well as what Florida characterized as Defendants’ “non-detention policy”

of “releasing aliens subject to mandatory detention … either based on an untenable

assertion of enforcement discretion to ignore §1225 or an abuse of the parole

authority under §1182.” The amended complaint seeks declaratory and injunctive

relief and asserts seven counts10 under the APA and one “non-statutory cause of

action” challenging Defendants’ alleged “unlawful, ultra vires conduct” and

violations of “the separation of powers doctrine and the Take Care Clause.”




vaccines and therapeutics).” See 87 Fed. Reg. 19941 (Apr. 6, 2022). However, the termination
order was temporarily enjoined in Arizona v. Ctrs. for Disease Control & Prevention, 2022 WL
1276141 (W.D. La. Apr. 27, 2022).
       9
           The delay between the filing of the motion to dismiss and the amended complaint was
attributable to the holidays and motion practice related to Defendants’ request to transfer this case
to a different division (i.e., judge) of this Court. See Doc. 13 (denying motion to transfer venue).
       10
           Count 1 alleges that the non-detention policy is not in accordance with law and exceeds
statutory authority, and Count 2 alleges the same about the parole + ATD policy. Count 3 alleges
that the non-detention policy is arbitrary and capricious, and Count 4 alleges the same about the
parole + ATD policy. Count 5 alleges that the non-detention policy did not comply with the notice
and comment procedures in the APA, and Count 6 alleges the same about the parole + ATD policy.
Count 7 alleges that the non-detention policy “qualifies as agency action unlawfully withheld or
unreasonably delayed.”

                                                 9
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 10 of 37




      Defendant responded to the amended complaint in March 2022 with a motion

to dismiss. The motion argues that the amended complaint should be dismissed

under Fed. R. Civ. P. 12(b)(1) for lack of subject-matter jurisdiction because Florida

lacks standing and its claims are not justiciable. Additionally, the motion argues that

amended complaint should be dismissed under Fed. R. Civ. P. 12(b)(6) because it

fails to state a plausible claim upon which relief may be granted. Each argument

will be addressed in turn, after summarizing the applicable standards of review.

                                       Analysis

      Florida has the burden to establish that the Court has subject-matter

jurisdiction over its claims. See Sweet Pea Marine, Ltd. v. APJ Marine, Inc., 411

F.3d 1242, 1247 (11th Cir. 2005) (“The burden for establishing federal subject

matter jurisdiction rests with the party bringing the claim.”). Where, as here, the

defendant raises a factual (rather than facial) challenge to the Court’s subject-matter,

the Court may consider “material extrinsic from the pleadings.” Stalley ex rel.

United States v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229, 1233 (11th Cir.

2008).

      “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The “plausibility standard”


                                          10
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 11 of 37




requires a showing of “more than a sheer possibility” that the defendants are liable

for the claim. Id. “Detailed factual allegations” are not required, but legal “labels

and conclusions,” unsupported by factual allegations, will not suffice. Twombly,

550 U.S. at 555.

       At the motion to dismiss stage of the case, the Court is required to accept the

operative complaint’s well-pleaded factual allegations as true and construes them,

along with the reasonable inferences they create, in the light most favorable to the

plaintiff. See Iqbal, 556 U.S. at 679; Cinotto v. Delta Air Lines Inc., 674 F.3d 1285,

1291 (11th Cir. 2012). Thus, “a well-pleaded complaint may proceed even if it

strikes a savvy judge that actual proof of those facts is improbable, and that a

recovery is very remote and unlikely.” Twombly, 550 U.S. at 556 (internal quotation

marks omitted).

                                        Standing

       “Article III of the U.S. Constitution permits federal courts to adjudicate only

‘cases or controversies,’ not any political dispute that happens to arise between the

state and federal executive branches.” Arizona v. Biden, 2022 WL 1090176, at *2

(6th Cir. Apr. 12, 2022). To establish Article III standing, the plaintiff must show

that he has “(1) suffered an injury in fact, (2) that is fairly traceable to the challenged

conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial




                                            11
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 12 of 37




decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016); see also Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

      At the motion to dismiss stage, a complaint need only “clearly allege[] facts

demonstrating each element” of standing. See Glynn Env’t Coal., Inc. v. Sea Island

Acquisition, LLC, 26 F.4th 1235, 1240 (11th Cir. 2022) (quoting Aaron Priv. Clinic

Mgmt. LLC v. Berry, 912 F.3d 1330, 1336 (11th Cir. 2019)). General factual

allegations are sufficient, so long as the complaint plausibly alleges a concrete

injury. See id.

      States are entitled to “special solicitude” in the standing analysis if (1) the

challenged action affects the state’s “quasi-sovereign interests” and (2) Congress has

conferred a procedural right to challenge the action in question. See Massachusetts

v. EPA, 549 U.S. 497, 519-20 (2007); Texas v. Biden, 20 F.4th at 969-70. Special

solicitude allows a state to establish standing “without meeting all the normal

standards for redressability and immediacy.” Massachusetts, 549 U.S. at 517-18

(quoting Lujan, 504 U.S. at 572 n.7).

      Florida argues that it is entitled to “special solicitude” here because its quasi-

sovereign interests are affected by the challenged policies and Congress conferred a

procedural right to challenge the policies under the APA. The Court agrees on both

points.




                                          12
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 13 of 37




       On the first point, Defendants’ alleged abdication of their duty to enforce the

detention mandates in the INA directly affects Florida’s quasi-sovereign interests

because Florida is dependent on Defendants to properly control the flow of aliens

into the country since it ceded its sovereign prerogative to keep aliens out of its

territory to the federal government when it joined the Union. See Massachusetts,

549 U.S. at 519 (finding that state has special solicitude when suing the federal

Environmental Protection Agency because the state had surrendered “sovereign

prerogatives” concerning air pollution to the federal government).11 On the second

point, the APA provides Florida a procedural right to challenge the policies at issue

in this case. Id. at 520; Texas v. Biden, 20 F.4th at 570. According, Florida is entitled

to special solicitude in the standing analysis.

       Florida has plausibly alleged that the challenged policies already have and

will continue to cost it millions of dollars, including the cost of incarcerating

criminal aliens and the cost of providing a variety of public benefits, including

unemployment benefits, free public education, and emergency services to aliens who

settle in Florida after being “paroled” into the country. “[E]conomic detriment … is

the epitome of an injury in fact,” Chiles v. Thornburgh, 865 F.2d 1197, 1209 (11th



       11
           The Court did not overlook Defendants’ citation of Summers v. Earth Island Inst., 555
U.S. 488, 493-94 (2009), for the proposition that standing is “substantially more difficult to
establish” when the plaintiff is “not himself the object of the government action or inaction he
challenges,” but that case is distinguishable because it involved environmental organizations, not
a state.

                                               13
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 14 of 37




Cir. 1989), and Florida’s allegations are sufficient to establish injury in fact at this

stage of the case. See Texas v. Biden, 10 F.4th 538, 547-48 (5th Cir. 2021) (state

established standing by showing that it incurs costs in determining whether an alien

satisfies the requirements for a driver’s license and issuing a license to those who

do, as well as educational, healthcare, and correctional costs); Texas v. United States,

809 F.3d 134, 155 (5th Cir. 2015) (state established standing by demonstrating that

it would incur significant costs in issuing driver’s licenses to aliens subject to

deferred prosecution program); see also Alabama v. U.S. Army Corps of Eng’rs, 424

F.3d 1117, 1130 (11th Cir. 2005) (state established injury based on adverse impact

to its economy); Florida v. Nelson, 2021 WL 6108948, at *8 (M.D. Fla. Dec. 22,

2021) (“[F]ederal executive action that adversely affects Florida’s economy and that

violates federal law governing … administrative procedure amounts to a

constitutional injury.”); Florida v. Becerra, 544 F. Supp. 3d 1241, 1253 (M.D. Fla.

2021) (ongoing economic injury to political subdivisions of the state were sufficient

to establish standing).

      The Court did not overlook Defendants’ argument that Florida lacks standing

because its alleged injuries are premised on the very existence of Defendants’

statutory parole authority and its implementing regulations, which authorize the

actions that Florida challenges. However, this argument is not persuasive because

under the plain language of the statute, Defendants do not have unfettered discretion


                                          14
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 15 of 37




in their use of the parole authority; rather, an arriving alien may only be paroled “on

a case-by-case basis for urgent humanitarian reasons or significant public benefit.”

8 U.S.C. §1182(d)(5)(A).         Moreover, although a plaintiff generally “lacks a

judicially cognizable interest in the prosecution or nonprosecution of another,” see

Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973), that principle does not squarely

apply here because Florida is not challenging Defendants’ detention/parole decision

with respect to any individual alien, but rather it is challenging Defendants’ alleged

failure to comply with the mandates and limitations in the INA with respect to its

detention and parole policies.

      Nor did the Court overlook Defendants arguments that Florida’s predictions

of injury are too attenuated and uncertain to provide standing because the injury

depends on the actions of third parties (i.e., aliens “paroled” into the country) and

because it is uncertain how many of those released under the challenged policies will

end up in Florida. The Court finds this argument unpersuasive.

      As to the first point, injury depending on the actions of third parties can still

provide standing when the “third parties will likely react in predictable ways” to a

particular government action, see Dep’t of Com. v. New York, 139 S. Ct. 2551, 2566

(2019); Texas v. Biden, 20 F.4th at 972-73, and, here, Florida’s claim “does not rest

on mere speculation about the decisions of third parties; it relies instead on the

predictable effect of Government action on the decisions of third parties.” Dep’t of


                                          15
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 16 of 37




Com., 139 S. Ct. at 2566.12 And as to the second point, Florida at least plausibly

alleges that aliens paroled into the country have settled in Florida and will continue

to do so if the challenged policies are allowed to continue, thereby imposing

economic costs on Florida. At this stage of the case, Florida need not show anything

more, see Glynn Env’t Coal., 26 F.4th at 1240, particularly given that the state is

entitled to special solicitude in the standing analysis.

       None of Defendants’ other standing arguments are persuasive. First, the

claims asserted in the amended complaint are not time-barred under 28 U.S.C.

§2401(a) because Florida is challenging policies put into place over the course of

the last two years, not the legality of the parole statute as amended in 1996. Second,

a determination that Florida has standing here does not equate to a finding that any

state would have standing to challenge any federal policy in the federal courts. See



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           The Court did not overlook Arizona v. Biden, supra, in which a panel of the Sixth Circuit
held that the plaintiff states lacked standing because their alleged injuries depended on the actions
of third parties. However, the Court finds that case distinguishable because the policies challenged
in that case involved removal of removal of aliens already in the country and implicated an entirely
different statutory regime and set of injuries and underlying policy concerns. The same is true of
Arizona v. United States, supra. Moreover, the states in the Sixth Circuit case did not challenge
the Government’s asserted prosecutorial discretion or dispute that individual immigration officers
retain control over the volume of removals and detentions they effect. See Arizona v. Biden, 2022
WL 1090176, at *3. Here, by contrast, Florida argues that Defendants do not have discretion—or
that they are operating outside of the discretion they do have—regarding detention of arriving
aliens. Moreover, applying the Sixth Circuit’s analysis to this case would run afoul of the Supreme
Court’s statements in Jennings, supra, that detention under §1225(b) is mandatory rather than
permissive. Finally, this case is in a different procedural posture than the Sixth Circuit case and,
unlike the plaintiff states in that case that had the burden of proving likelihood of success to secure
a preliminary injunction, here Florida only has the burden to plausibly allege the elements of its
claims to survive dismissal.

                                                 16
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 17 of 37




Texas v. Biden, 20 F.4th at 974-75; accord Texas v. United States, 809 F.3d at 161;

Massachusetts, 549 U.S. at 546 (Roberts, C.J., dissenting).                     Third, Florida’s

challenge is not merely a “generalized grievance” because it has alleged injuries that

are not common to all members of the public.13 See Texas v. United States, 86 F.

Supp. 3d 591, 619-20 (S.D. Tex. 2015) (explaining that injury to a state’s proprietary

interests, such as the cost of providing services to aliens, is not a generalized

grievance).

       In addition to Article III standing, a plaintiff alleging a statutory violation

must also show that its interests are “arguably” within the “zone of interests” that

Congress intended to protect by that statute. See Lexmark Int’l, Inc. v. Static Control

Components, Inc., 572 U.S. 118, 129-30 (2014).                    This test is not especially

demanding, particularly in the APA context, and it “forecloses suit only when a



       13
           On this point, it is noteworthy that although courts have routinely held that individual
suits over the federal government’s perceived noncompliance with federal law are generalized
grievances, courts have also permitted states to sue the federal government over its potentially
unlawful policies, provided that the state has itself suffered a direct injury. Compare United States
v. Richardson, 418 U.S. 166 (1974) (taxpayer was not entitled to sue for more detailed information
on government expenditures); Valley Forge Christian Coll. v. Americans United for Separation of
Church and State, Inc., 454 U.S. 464 (1982) (citizens and taxpayers lacked standing to challenge
federal government’s conveyance of surplus property to a religious college), with Massachusetts,
supra (state had standing to challenge federal agency’s refusal to adopt regulation for greenhouse
gas emissions from motor vehicles); Kentucky v. Biden, 23 F.4th 585 (6th Cir. 2022) (state had
standing to challenge to COVID-19 vaccination mandate for federal contractors); Texas v. Biden,
20 F.4th 928 (5th Cir. 2021) (state had standing to challenge to suspension of MPP); Texas v.
United States, 809 F.3d 134 (5th Cir. 2015) (state had standing to challenge to deferred prosecution
policy); Nelson, 2021 WL 6108948 (state had standing to challenge to COVID-19 vaccination
mandate for federal contractors); Becerra, 544 F. Supp. 3d 1241 (state had standing to challenge
to CDC restrictions on cruise industry).

                                                17
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 18 of 37




plaintiff’s interests are so marginally related to or inconsistent with the purposes

implicit in the statute that it cannot reasonably be assumed that Congress authorized

that plaintiff to sue.” See id. at 130 (internal quotation marks omitted). Federation

for American Immigration Reform (FAIR), Inc. v. Reno, 93 F.3d 897, 902 (D.C. Cir.

1996), cited by Defendants, is not contrary authority because it was decided before

the Supreme Court’s clarification of the leniency of the zone of interest test in

Lexmark and it did not involve a state plaintiff. See Texas v. Biden, 20 F.4th at 976

(finding FAIR inapposite for similar reasons).

      Other courts have found that a state’s economic interests are within the zone

of interests protected by the INA. Texas v. Biden, 20 F.4th at 975-76; Texas v. United

States, 809 F.3d at 163; see also Cook Cnty., Ill. v. Wolf, 962 F.3d 208, 220 (7th Cir.

2020) (county was within the zone of interests of the federal immigration statutes

based on its financial interests). Accordingly, it follows that the interests Florida

seeks to vindicate in this case are within the zone of interest of the INA.

      Florida is not required to prove its standing at this stage of the case. It is only

required to allege facts that, if proven, will establish its standing—and for the reasons

stated above, it has done so. Accordingly, the amended complaint is not due to be

dismissed for lack of standing.




                                           18
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 19 of 37




                                    Justiciability

      Defendants argue that the challenged policies are not subject to judicial review

because they involve matters committed to agency discretion, because there has been

no final agency action subject to judicial review, and because the INA precludes

such review. Each argument will be addressed in turn.

                          Committed to Agency Discretion

      Challenged activities that are “committed to agency discretion by law” are not

subject to judicial review under the APA. 5 U.S.C. §701(a)(2); Conservancy of Sw.

Fla. v. U.S. Fish & Wildlife Serv., 677 F.3d 1073, 1082 (11th Cir. 2012). However,

this exception is read “quite narrowly,” and only applies to “those rare circumstances

where the relevant statute is drawn so that a court would have no meaningful

standard against which to judge the agency’s exercise of discretion.” Weyerhaeuser

Co. v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 370 (2018) (quoting Lincoln v.

Vigil, 508 U.S. 182, 191 (1993)); Citizens to Preserve Overton Park, Inc. v. Volpe,

401 U.S. 402, 410 (1971) (the “committed to agency discretion” exception only

applies “in those rare instances where statutes are drawn in such broad terms that in

a given case there is no law to apply.” (internal quotation marks omitted));

Conservancy of Sw. Fla., 677 F.3d at 1082 (“[T]he absence of any applicable legal

standard that limits the agency’s discretion precludes APA review.”); see also Dep’t

of Com., 139 S. Ct. at 2568 (judicial review is only precluded when the agency’s


                                         19
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 20 of 37




discretion is “unbounded” or the challenged action is in “one of those areas

traditionally committed to agency discretion”).

      Here, the primary statutory provisions at issue are §§1225(b)(1)(B)(iii)(IV)

and (b)(2)(A) and §1182(d)(5)(A). Defendants argues that §1225 affords it broad

enforcement discretion to establish policies and priorities, including the option to

decline to institute removal proceedings at all. Florida responds that the cited

provisions of §1225 expressly require aliens to be detained until removal

proceedings have concluded, and that §1182(d)(5)(A) does not authorize Defendants

to circumvent the mandatory detention requirement as it is allegedly doing through

the challenged policies. The Court agrees with Florida.

      The cited provisions in §1225 clearly and unambiguously state that aliens

arriving at the border “shall be detained,” not that they may be detained. The word

“shall” connotes a requirement or a command, rather than a suggestion or an

opportunity for the exercise of discretion. See United States v. Quirante, 486 F.3d

1273, 1275 (11th Cir. 2007) (“The word ‘shall’ does not convey discretion. It is not

a leeway word. … [W]here Congress uses the word ‘shall’ to describe a party’s

obligation, Congress intends to command rather than suggest.”); cf. In re Gateway

Radiology Consultants, P.A., 983 F.3d 1239, 1257 (11th Cir. 2020) (“The use of the

permissive word ‘may’ vests the [agency] with discretionary authority.”). The

Supreme Court reached the same conclusion in Jennings when it stated that


                                        20
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 21 of 37




“§§1225(b)(1) and (b)(2) do not use the word ‘may’ [and] [i]nstead, they

unequivocally mandate that aliens falling within their scope ‘shall’ be detained.”

138 S. Ct. at 844.

       The Court did not overlook Defendants’ reliance on Heckler v. Chaney, 470

U.S. 821 (1985), for the proposition that the decision to release an individual on

parole is committed to agency discretion because it involves the balancing of factors

within the agency’s particular expertise.14 This argument is not persuasive because

the Supreme Court acknowledged in Heckler itself that it did not apply to “a situation

where it could justifiably be found that the agency has consciously and expressly

adopted a general policy that is so extreme as to amount to an abdication of its

statutory responsibilities.” Id. at 833 n.4 (internal quotation marks omitted); see also

Texas v. Biden, 20 F.4th at 983-84 (“Heckler … shelter[s] one-off nonenforcement

decisions rather than decisions to suspend entire statutes.”). Such a situation is

precisely what Florida alleges here.               Moreover, Heckler only establishes a

presumption, which may be rebutted where “the substantive statute has provided

guidelines for the agency to follow in exercising its enforcement powers.” 470 U.S.



       14
           Defendants also cite Chiles v. United States, 69 F.3d 1094, 1096 (11th Cir. 1995), for
the proposition that the overall statutory immigration scheme forecloses judicial review of whether
the immigration laws are being adequately enforced. That argument is unpersuasive. See Texas
v. United States, 86 F. Supp. 3d at 637 n.45 (distinguishing Chiles and other cases because they
did not involve a stated policy of nonenforcement, the plaintiffs did not provide proof of any direct
damages, and they predate the REAL ID Act of 2005 which requires a state to pay a fee to verify
an applicant’s identity prior to issuing a driver’s license).

                                                21
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 22 of 37




at 832-33. Here, the statutory scheme cabins Defendants’ discretion and guides its

application of §1225 by expressly limiting its parole authority in §1182(d)(5)(A),

and the core issue in this case is whether Defendants acted in compliance with those

requirements.

      Relatedly, the Court did not overlook Defendants’ argument that Congress’s

failure to define “urgent humanitarian reasons” or “significant public benefit” in

§1182(d)(5)(A) gives them discretion to fill in the gaps. Even if that is true,

Defendants do not have unfettered discretion to define those terms however they

choose; rather, the interpretation must be reasonable. See Chevron, U.S.A., Inc. v.

Nat. Res. Def. Council, Inc., 467 U.S. 837, 844 (1984) (“[A] court may not substitute

its own construction of a statutory provision for a reasonable interpretation made by

the administrator of an agency.” (emphasis added)).          If, as Florida alleges,

Defendants have adopted policies pursuant to which they are effectively paroling

arriving aliens en masse without commencing removal proceedings solely because

of resource constraints (some of which are alleged to be of Defendants’ own

making), it seems unlikely that would be a reasonable interpretation of the terms

“urgent humanitarian reasons” or “significant public benefit.” Moreover, such an

interpretation may be at odds with Defendants’ existing regulations, which limit the

classes of aliens that can be paroled on a case-by-case basis. See note 5, supra.




                                         22
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 23 of 37




      Nor did the Court overlook Defendants’ argument that Congress has

authorized it to establish immigration enforcement policies and priorities,

specifically those related to allocating its limited resources, thereby conveying

discretion. However, Congress was presumably aware that Defendants have limited

resources when it enacted the detention requirement, yet it still chose to use language

mandating detention. Even if resource allocation and other policy priorities can be

considered in Defendants’ exercise of their limited parole authority under

§1182(d)(5)(A), those considerations do not give Defendants carte blanche to release

arriving aliens without undertaking individualized case-by-case assessments as

required by that statute, as they have allegedly done through the challenged

policies—particularly if, as Florida alleges, Defendants have essentially created the

problem the challenged policies seek to alleviate.

      Finally, the Court did not overlook Defendants’ assertion that the Court lacks

jurisdiction to review parole decisions. However, the Court finds the cases cited in

support of that proposition inapposite because Florida is not challenging individual

immigration decisions.     Instead, Florida is seeking to ensure that Defendants’

policies and practices comply with the controlling law.

                                Final Agency Action

      Only “final agency action” is subject to judicial review under the APA. 5

U.S.C. §704. “[T]wo conditions must be satisfied for agency action to be ‘final’:


                                          23
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 24 of 37




First, the action must mark the consummation of the agency's decisionmaking

process—it must not be of a merely tentative or interlocutory nature. And second,

the action must be one by which rights or obligations have been determined, or from

which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997)

(internal citations and quotation marks omitted)).

      As to the non-detention policy, Defendants first argue that the policy is not

the consummation of their decisionmaking process because (at least according to

Defendants) there is no policy of non-detention, but rather “an amalgam of parole

decisions.” The Court rejects this argument for two reasons. First and foremost,

Florida has plausibly alleged that there is such a policy, and at this stage of the case,

the Court is required to accept that allegation as true. Second, it defies logic and

common sense to suggest that there is no overriding policy against detaining aliens

when hundreds of thousands have been paroled or otherwise released into the

country, and it would be highly improbable (if not statistically impossible) for this

to have resulted by happenstance from an “amalgamation” of individual case-by-

case decisions rather than a policy directive.

      Alternatively, Defendants argue that even if a non-detention policy exists, it

would not be final agency action because it has no “direct and appreciable legal

consequences” on Florida. The Court rejects this argument for two reasons. First,

Florida plausibly alleges that the non-detention policy effectively establishes “new


                                           24
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 25 of 37




marching orders” directing immigration officials to act out of compliance with

applicable laws, thereby affecting the rights and obligations of both the paroled

aliens and of Florida. Second, the test for finality is whether the agency action

determines rights or obligations or has legal consequences, not whether the party

challenging the agency action is directly regulated by it and, here, Florida plausibly

alleges that the policies affect its legal obligations insofar as it is obligated by law to

provide certain services to aliens who settle within its borders.

       As to the parole + ATD policy, Defendants argue that the policy is merely

“guidance” that does not create legal rights or impose legal obligations (and

therefore is not a final agency action) because the agency retains the discretion to

alter or revoke the policy at will and because agency officials retain discretion to act

on a case-by-case basis. The Court disagrees. The fact that an agency can revise or

revoke its guidance does not make its decision nonfinal. See U.S. Army Corps of

Eng’rs v. Hawkes Co., Inc., 578 U.S. 590, 598 (2016) (“Th[e] possibility [that the

agency may revise its decision] is a common characteristic of agency action, and

does not make an otherwise definitive decision nonfinal.”); Texas v. Biden, 20 F.4th

at 949 (“The Government’s rule would render any agency action nonreviewable so

long as the agency retained its power to undo that action or otherwise alter it in the

future. That accords with neither common sense nor the law.”). Nor does the fact

that agency officials may retain a modicum of case-by-case discretion because they


                                            25
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 26 of 37




are not specifically required to parole all arriving aliens necessarily negate the

alleged overarching policy directive to release arriving aliens into the country

without instituting formal immigration proceedings against them. Finally, as with

the non-detention policy, Florida has plausibly alleged that the parole + ATD policy

has legal consequences for the state.

                            Review Precluded by Statute

      Judicial review of an agency action under the APA is barred if such review is

explicitly prohibited by statute. 5 U.S.C. §701(a)(1); see also Bowen v. Mich. Acad.

of Fam. Physicians, 476 U.S. 667, 673 (1986) (presumption of judicial review can

be overcome by statutory language). Here, Defendants allege §1252(a)(2)(B)(ii) and

§1225(g) preclude judicial review. The Court disagrees.

      The statutes cited by Defendants provide that “no court shall have jurisdiction

to review” certain immigration decisions. Specifically, §1252(a)(2)(B)(ii) precludes

judicial review of any immigration decision or action “the authority for which is

specified … to be in the discretion of the Attorney General or the Secretary of

Homeland Security” and §1252(g) precludes judicial review of “any cause or claim

by or on behalf of any alien arising from the decision or action … to commence

proceedings, adjudicate cases, or execute removal orders against any alien.”

      These statutes do not bar judicial review of the challenged policies or the

claims asserted in the amended complaint because they only preclude review of


                                        26
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 27 of 37




individual immigration decisions. See Texas v. Biden, 20 F.4th at 977 & n.11 (“[T]he

entirety of the text and structure of §1252 indicates that it operates only on denials

of relief for individual aliens.”); see also DHS v. Regents of the Univ. of Cal., 140 S.

Ct. 1891, 1907 (2020) (holding that various provisions of §1252 did not bar judicial

review because no removal proceedings were challenged); Jennings, 138 S. Ct. at

841 (same with respect to §1226(e)).

                                           *    *    *

       In sum, for the reasons stated above, the Court finds no merit in Defendants’

arguments that the APA claims asserted in the amended complaint are not subject to

judicial review.

                                   Failure to State a Claim

       Having determined that the Court has jurisdiction because Florida has

standing to assert its claims and those claims are justiciable, the Court will now turn

to Defendants’ argument that Florida has not asserted any plausible claims upon

which relief may be granted. Before doing so, however, the Court will address

Defendants’ argument that §1252(f)(1) precludes the Court from granting injunctive

relief against the challenged policies.15



       15
           The Court was not required to consider this argument because it was buried in a footnote
in the motion to dismiss (Doc. 23-1, at 25 n.4), but the Court elected to consider the argument for
sake of completeness. See Pinson v. JPMorgan Chase Bank, Nat’l Ass’n, 942 F.3d 1200, 1209 n.5
(11th Cir. 2019) (“We do not ordinarily consider arguments raised in passing in one footnote rather
than the body of the brief.” (emphasis added)).

                                               27
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 28 of 37




      Section 1252(f)(1) provides that “[r]egardless of the nature of the action or

claim or of the identity of the party or parties bringing the action, no court (other

than the Supreme Court) shall have jurisdiction or authority to enjoin or restrain the

operation of the provisions of part IV of this subchapter … other than with respect

to the application of such provisions to an individual alien against whom proceedings

under such part have been initiated.” The Court finds this provision inapposite for

two reasons.

      First, Florida is not asking the Court to “enjoin or restrain the operation” of

the immigration statutes governing mandatory detention and limiting parole, but

rather Florida is seeking an order directing Defendants to enforce these statutes as

they are written. See Texas v. Biden, 20 F.4th at 1003-04 (“Far from ‘restrain[ing]’

the ‘operation’ of the statute, the [district court’s] injunction restored it.”); Rodriguez

v. Hayes, 591 F.3d 1105, 1120 (9th Cir. 2010) (“Petitioner here does not seek to

enjoin the operation of the immigration detention statutes, but to enjoin conduct it

asserts is not authorized by the statutes.”); but see Hamama v. Adducci, 912 F.3d

869, 879-80 (6th Cir. 2018) (rejecting the argument that “the district court was not

enjoining or restraining the statutes” because the district court’s order included

“limitations on what the government can and cannot do under the removal and

detention provisions” that qualified as “restraints”). Second, “part IV” of the

immigration subchapter of the INA only includes §§1221 through 1232, so even if


                                            28
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 29 of 37




§1252(f)(1) was somehow applicable to the claims in this case, it would not preclude

an order retraining or enjoining the use of parole under §1182 since that statute is in

a different part (part II) of the immigration subchapter.

                                 Counts 1, 2, and 7

      Florida alleges in Count 7 of the amended complaint that Defendants’ refusal

to comply with the mandatory detention requirement in §1225 and the limits on their

parole authority in §1182, as reflected in the non-detention policy, “qualifies as

agency action unlawfully withheld or unreasonably delayed” under §706(1) of the

APA; and Florida alleges in Counts 1 and 2 that the non-detention and parole + ATD

policies are “in excess of statutory … authority” and “not in accordance with the

law” under §706(2)(A) and (2)(C) of the APA because the policies conflict with

statutory detention mandates and the statutory limits on Defendants’ parole

authority. Defendants’ motion to dismiss these counts essentially rehashes their

statutory interpretation arguments, namely that §1225(b)(1) and (b)(2) do not

mandate detention, but rather contemplates discretion. Defendants also maintain

that they are making case-by-case parole determinations in compliance with

§1182(d)(5)(A).

      For the reasons stated above, the Court is not persuaded by Defendants’

statutory interpretation arguments. Moreover, whether Defendants are truly making




                                          29
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 30 of 37




individualized case-by-case parole decisions in compliance with the statutory

scheme is a disputed factual issue that cannot be resolved at this stage of the case.

      Accordingly, Defendants’ motion to dismiss is due to be denied as to Counts

1, 2, and 7 of the amended complaint.

                                   Counts 3 and 4

      Florida alleges in Counts 3 and 4 of the amended complaint that the non-

detention and parole + ATD policies are arbitrary and capricious under §706(2)(A)

of the APA because they are supported by insufficient rationale and because

Defendants failed to consider important factors in formulating these policies.

Defendants argue that these counts should be dismissed because they do not have

the “parole policy” that Florida claims they have.

      The problem with Defendants’ argument is that Florida has plausibly alleged

that they do have policies (namely, the non-detention policy and the parole + ATD

policy) that have resulted in the release of hundreds of thousands of aliens into the

country without initiating removal proceedings. Florida’s allegations are not, as

Defendants claim, based on “mere conjecture” or “speculation,” but rather are based

on facts that, viewed in the light most favorable to Florida, suggest the existence of

an overarching policy rather than a mere “amalgam of … individual parole

decisions.”




                                          30
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 31 of 37




      Accordingly, Defendants’ motion to dismiss is due to be denied as to Counts

3 and 4.

                                  Counts 5 and 6

      Florida alleges in Counts 5 and 6 of the amended complaint that Defendants

did not engage in notice and comment under §553 of the APA when adopting the

non-detention and parole + ATD policies. Defendants raise two arguments in

support of dismissal of these counts, neither of which is persuasive.

      First, Defendants argue that no rulemaking occurred, but rather only

individual adjudications (i.e., individual parole decisions) that are not subject to

notice and comment procedures. However, as previously discussed, the Court is

simply not persuaded by Defendants’ argument that what is alleged to be happening

at the southern border is merely the result of an “amalgamation” of individual

decisions, rather than a blanket policy—particularly when the allegations in the

amended complaint are accepted as true as is required at this stage of the case.

      Second, Defendants argue that the challenged policies, if they existed, would

not be subject to notice and comment under §553(b)(A) of the APA because they are

merely “general statements of policy.” A general statement of policy “advise[s] the

public prospectively of the manner in which the agency proposes to exercise a

discretionary power.” Lincoln, 508 U.S. at 197 (quoting Chrysler Corp. v. Brown,

441 U.S. 281, 302 n.31 (1979)). However, at this stage of the case, the Court cannot


                                         31
     Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 32 of 37




say that this exception applies, because Florida has plausibly alleged that the

challenged policies do not merely explain the exercise of a discretionary power, but

instead purport to exercise discretion that Defendants do not have under the statutory

scheme.

       Accordingly, Defendants’ motion to dismiss is due to be denied as to Counts

5 and 6.

                                             Count 8

       Florida asserts a “non-statutory cause of action” in Count 8, alleging that the

non-detention and parole + ATD policies are “unlawful [and] ultra vires” and violate

the “separation of powers doctrine” and the Take Care Clause16 of the Constitution.

Defendants raise three arguments in support of dismissal of this count, none of which

are persuasive.

       First, Defendants argue that Florida offers no factual allegations in support of

this claim and that the claim is conclusory. This argument ignores the fact that the

first paragraph of Count 8 incorporates all the underlying substantive factual

allegations in the amended complaint as well as the allegations in Counts 1 and 2

that the challenged policies contravene the INA. Based on the rulings above




       16
         U.S. Const., Art. II, §3 (requiring the President to “take Care that the Laws be faithfully
executed”).

                                                32
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 33 of 37




regarding Counts 1 and 2, it follows that Count 8 is not due to be dismissed for

inadequate factual support.

       Second, Defendants argue that the separation of powers doctrine does not

favor, but rather defeats, Florida’s legal theory, because the executive branch, not

the judiciary, has the authority to decide to whether and when to detain aliens

arriving at the border. However, the judiciary does have the authority to say what

the law is and to invalidate action of the executive branch that contravenes the law

and/or the Constitution.

       Third, Defendants argue that the Take Care Clause does not provide a private

right of action pursuant to which Florida can bring a claim. Although some district

courts have agreed with this argument,17 there is no binding authority on this point,

and the Court sees no reason why such a claim could not be pursued at least in

circumstances where (as alleged here) the executive branch has completely

abdicated its responsibility to enforce the law as written. See generally Heckler, 470

U.S. at 833 n.4 (suggesting that an agency’s decision not to enforce a law might be

reviewable “where it could justifiably be found that the agency has ‘consciously and

expressly adopted a general policy’ that is so extreme as to amount to an abdication



       17
          See Las Americas Immigrant Advoc. Ctr. v. Biden, -- F. Supp. 3d --, 2021 WL 5530948,
at *3 (D. Ore. Nov. 24, 2021); City of Columbus v. Trump, 453 F. Supp. 3d 770, 800-03 (D. Md.
2020); Robbins v. Reagan, 616 F. Supp. 1259, 1269 (D.D.C. 1985); see also Texas v. United States,
86 F. Supp. 3d at 677 n.110 (noting the “dearth of cases in which the Take Care Clause has been
pursued as a cause of action rather than asserted as an affirmative defense”).

                                               33
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 34 of 37




of its statutory responsibilities”); Kendall v. United States, 37 U.S. 524, 613 (1838)

(“To contend that the obligation imposed on the President to see the laws faithfully

executed, implies a power to forbid their execution, is a novel construction of the

constitution, and entirely inadmissible.”); Crowley Caribbean Transp., Inc. v. Pena,

37 F.3d 671, 677 (D.C. Cir. 1994) (distinguishing between “single-shot” non-

enforcement decisions by agencies, which are generally not subject to judicial

review, and “general enforcement policies” that could show that the agency has

abdicated its duty to faithfully execute the law). This conclusion is supported by the

Supreme Court’s observation that “[t]he ability to sue to enjoin unconstitutional

actions by state and federal officers is the creation of courts of equity” and the “long

history of judicial review of illegal executive action, tracing back to England.”

Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015); see also Free

Enter. Fund v. PCAOB, 561 U.S. 477, 491 n.2 (2010) (collecting cases recognizing

an implied private right of action to challenge government action directly under the

Constitution); Sierra Club v. Trump, 929 F.3d 670, 694-98 (9th Cir. 2019) (finding

an equitable cause of action for a plaintiff seeking to challenge government action

under the Appropriations Clause, and collecting cases in which courts have

permitted a plaintiff to sue in equity to enjoin unconstitutional actions by federal

officials); Bivens v. Six Unknown Named Agents of the Federal Bureau of Narcotics,

403 U.S. 388, 404 (1971) (Harlan, J., concurring in the judgment) (recognizing “the


                                          34
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 35 of 37




presumed availability of federal equitable relief against threatened invasions of

constitutional interests”).

      The Court did not overlook Defendants’ argument that their prosecutorial

discretion cannot be subjected to equitable judicial review because this case involves

“executive and political” duties rather than “ministerial” duties. See Mississippi v.

Johnson, 71 U.S. 475, 498-99 (1866); Nat’l Treasury Emps. Union v. Nixon, 492

F.2d 587, 608 (D.C. Cir. 1974). The problem with this argument is that the statutory

duties in this case fall somewhere in between these two extremes because although

§1182(d)(5)(A) clearly affords Defendants some discretion to parole aliens

notwithstanding the explicit detention mandates in §1225(b)(1) and (b)(2), that

discretion is not absolute because the grounds and duration of parole authority are

specifically limited by statute. Thus, Defendants’ parole polices are not immune

from judicial review. See Kurapati v. U.S. Bureau of Citizenship & Immigr. Servs.,

775 F.3d 1255, 1262 (11th Cir. 2014) (“Even when a decision is committed to

agency discretion, a court may consider allegation that an agency failed to follow its

own binding regulations.” (internal quotations omitted)); NAACP v. Levi, 418 F.

Supp. 1109, 1116 (D.D.C. 1976) (explaining that in cases where prosecutorial

discretion is altered or limited by statute, “the judiciary has the responsibility of

assuring that the purpose and intent of congressional enactments are not negated”);

Nader v. Saxbe, 497 F.2d 676, 679 n.19 (D.C. Cir. 1974) (“[T]he exercise of


                                         35
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 36 of 37




prosecutorial discretion, like the exercise of Executive discretion generally, is

subject to statutory and constitutional limits enforceable through judicial review.

The law has long recognized the distinction between judicial usurpation of

discretionary authority and judicial review of the statutory and constitutional limits

to that authority. Judicial review of the latter sort is normally available unless

Congress has expressly withdrawn it. The decisions of this court have never allowed

the phrase ‘prosecutorial discretion’ to be treated as a magical incantation which

automatically provides a shield for arbitrariness.” (citations omitted)).

      Finally, the Court did not overlook Defendants’ argument that the 1976

amendments to the APA supplant constitutional claims for injunctive relief against

federal agencies and officers. However, courts have recognized that claims may be

cognizable under both the APA and under a court’s inherent equitable power, and

that those two claims do not necessarily foreclose each other. See Sierra Club, 929

F.3d at 699; but see California v. Trump, 963 F.3d 926, 941 n.12 (9th Cir. 2020)

(finding it unnecessary to address a state’s equitable ultra vires claim because the

state prevailed under the APA and sought the same scope of relief under each claim,

but acknowledging that “each of the claims can proceed separately”); Ctr. for

Biological Diversity v. Trump, 453 F. Supp. 3d 11, 53-54 (D.D.C. 2020) (dismissing

constitutional claims because they merely recast APA and other statutory claims).




                                          36
    Case 3:21-cv-01066-TKW-EMT Document 45 Filed 05/04/22 Page 37 of 37




                                   Conclusion

      In sum, for the reasons stated above, it is ORDERED that:

      1.    Defendants’ motion to dismiss (Doc. 23) is DENIED.

      2.    Defendants shall have 14 days from the date of this Order to answer the

amended complaint. See Fed. R. Civ. P. 12(a)(4)(A).

      DONE and ORDERED this 4th day of May, 2022.

                                      T. Kent Wetherell, II
                                     T. KENT WETHERELL, II
                                     UNITED STATES DISTRICT JUDGE




                                       37
